Case 2:25-mc-00055   Document 1-16   Filed 06/20/25   Page 1 of 6 Page ID #:775




         EXHIBIT “2”
Case 2:25-mc-00055                      Document 1-16                      Filed 06/20/25                    Page 2 of 6 Page ID #:776


 From:              Summer Benson
 To:                Roeser, Stephanie; Bender, Kristin; Cortni Davis; Vaneta Birtha; Jose Perez; Ellyn Garofalo; Kim Zeldin; Amir Kaltgrad; Rose Khatchikian;
                    Bryan Freedman; Miles Cooley; Jason Sunshine; Local MS. Counsel; Local KAF. Counsel; mitra@ahouraianlaw.com; Christina Puello;
                    Theresa Troupson
 Cc:                Nathan, Aaron E.; Bruno, Matthew; Gottlieb, Michael; Governski, Meryl Conant; Hudson, Esra; Connolly, Michaela; Climaco, Katelyn
 Subject:           RE: Lively Motion to Compel re Wayfarer Third Parties
 Date:              Friday, June 13, 2025 7:46:00 PM
 Attachments:       image001.png


Stephanie,

We disagree with your characterization and reject any suggestion that we are engaging in delay. As we have repeatedly
stated, the Wayfarer Third Parties have complied, and will continue to comply, with the subpoenas. The collection and
review process is time-consuming and resource-intensive, and your accusation ignores both the record and our good
faith efforts to cooperate.

Nonetheless, we will agree to waive any objection based on Local Rule 37 for purposes of this motion and will provide
our insertion to the stipulation by Monday, as proposed.

Best,

Summer E. Benson, Esq.
LINER FREEDMAN TAITELMAN + COOLEY LLP
1801 Century Park West, 5th Floor
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Telephone: (310) 201-0005
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From: Roeser, Stephanie <SRoeser@manatt.com>
Sent: Friday, June 13, 2025 3:08 PM
To: Summer Benson <sbenson@lftcllp.com>; Bender, Kristin <KBender@willkie.com>; Cortni Davis
<cdavis@lftcllp.com>; Vaneta Birtha <vbirtha@lftcllp.com>; Jose Perez <jperez@lftcllp.com>; Ellyn Garofalo
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mitra@ahouraianlaw.com; Christina Puello <cpuello@lftcllp.com>; Theresa Troupson <ttroupson@lftcllp.com>
Cc: Nathan, Aaron E. <ANathan@willkie.com>; Bruno, Matthew <MBruno@manatt.com>; Gottlieb, Michael
<MGottlieb@willkie.com>; Governski, Meryl Conant <MGovernski@willkie.com>; Hudson, Esra
<EHudson@manatt.com>; Connolly, Michaela <MConnolly@willkie.com>; Climaco, Katelyn <KClimaco@manatt.com>
Subject: RE: Lively Motion to Compel re Wayfarer Third Parties

Summer,

As we briefly discussed on the call this afternoon, we disagree that Ms. Lively’s draft stipulation and motion are
deficient and maintain that Ms. Lively has met and conferred in a good-faith effort to eliminate the necessity for the
motion on the Wayfarer Third Parties’ subpoena responses pursuant to Local Rule 37.
Case 2:25-mc-00055                                 Document 1-16                            Filed 06/20/25                         Page 3 of 6 Page ID #:777


We first conferred regarding the Wayfarer Third Parties’ subpoena responses on March 25. We then followed up to
confirm our telephonic conferral in writing, to which your colleague refused to “crystalize” the Wayfarer Third Parties’
position to even confirm what requests the Wayfarer Third Parties had agreed to produce in response to and that
Wayfarer would produce from any Wayfarer-issued email accounts. (See attached.) Having received no confirmation
regarding what the Wayfarer Third Parties intended to produce or when, we continued our conferral efforts, including
by phone on May 5, and in written correspondence on May 7 and May 19, hoping to obtain further clarity regarding the
status of the collection and the production of the Wayfarer Third Parties’ materials to avoid unnecessary motion
practice.

As you know, we further attempted to resolve the issues regarding the Wayfarer Third Parties’ subpoena responses by
filing a motion to compel before Judge Liman in the New York action, in response to which Wayfarer proposed that the
issues should be raised in the Central District of California. Based on the foregoing, the notion that we have not satisfied
Local Rule 37 is not just unreasonable but also clearly designed to further delay production of materials that the
Wayfarer Third Parties agreed to produce three months ago. You have raised no argument of lack of notice—nor could
there be one—but instead a procedural point that cannot reasonably apply in this context. If the Wayfarer Third Parties
agree to withdraw any objection based on Local Rule 37, we are amenable to extending the deadline to provide the
insertion until Monday, as you proposed. However, if the Wayfarer Third Parties will not agree to such waiver, we will
require your insertion to the stipulation today.

Thank you,
Stephanie

Stephanie Roeser
Partner


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From: Summer Benson <sbenson@lftcllp.com>
Sent: Thursday, June 12, 2025 11:34 AM
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<cdavis@lftcllp.com>; Vaneta Birtha <vbirtha@lftcllp.com>; Jose Perez <jperez@lftcllp.com>; Ellyn Garofalo
<egarofalo@lftcllp.com>; Kim Zeldin <kzeldin@lftcllp.com>; Amir Kaltgrad <akaltgrad@lftcllp.com>; Rose Khatchikian
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mitra@ahouraianlaw.com; Christina Puello <cpuello@lftcllp.com>; Theresa Troupson <ttroupson@lftcllp.com>
Cc: Nathan, Aaron E. <ANathan@willkie.com>; Bruno, Matthew <MBruno@manatt.com>; Gottlieb, Michael
<MGottlieb@willkie.com>; Governski, Meryl Conant <MGovernski@willkie.com>; Hudson, Esra
<EHudson@manatt.com>; Connolly, Michaela <MConnolly@willkie.com>; Climaco, Katelyn <KClimaco@manatt.com>
Subject: RE: Lively Motion to Compel re Wayfarer Third Parties


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Case 2:25-mc-00055                   Document 1-16                 Filed 06/20/25              Page 4 of 6 Page ID #:778


Counsel,

It is not our obligation to identify all deficiencies in your draft stipulation. However, as an initial procedural matter,
Local Rule 37-1 requires that “[b]efore filing any motion relating to discovery under F.Rs.Civ.P. 26-37, counsel for the
parties must confer in a good-faith effort to eliminate the necessity for hearing the motion or to eliminate as many of
the disputes as possible.” C.D. Cal. Local Rule 37-1. It is Ms. Lively’s responsibility to initiate this process by serving a
detailed letter identifying each issue in dispute, stating her position with supporting legal authority, and specifying the
relief sought. Id. No such correspondence was provided prior to circulating the draft stipulation, nor did Ms. Lively
engage in the required conference of counsel.

Please confirm by end of today whether you intend to withdraw the draft stipulation and proceed in accordance with
the Local Rules. Notwithstanding our ongoing and well-documented compliance efforts, we remain available to engage
in the proper process.

We will respond separately to your colleague’s email regarding the alleged production deficiencies.

As to your last point, our firm does not represent Matthew Mitchell.

Summer E. Benson, Esq.
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From: Bender, Kristin <KBender@willkie.com>
Sent: Wednesday, June 11, 2025 12:14 PM
To: Summer Benson <sbenson@lftcllp.com>; Roeser, Stephanie <SRoeser@manatt.com>; Cortni Davis
<cdavis@lftcllp.com>; Vaneta Birtha <vbirtha@lftcllp.com>; Jose Perez <jperez@lftcllp.com>; Ellyn Garofalo
<egarofalo@lftcllp.com>; Kim Zeldin <kzeldin@lftcllp.com>; Amir Kaltgrad <akaltgrad@lftcllp.com>; Rose Khatchikian
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Cc: Nathan, Aaron E. <ANathan@willkie.com>; Bruno, Matthew <MBruno@manatt.com>; Gottlieb, Michael
<MGottlieb@willkie.com>; Governski, Meryl Conant <MGovernski@willkie.com>; Hudson, Esra
<EHudson@manatt.com>; Connolly, Michaela <MConnolly@willkie.com>; Climaco, Katelyn <KClimaco@manatt.com>
Subject: RE: Lively Motion to Compel re Wayfarer Third Parties

Counsel,

Please identify all deficiencies you claim exist as to the draft stipulation and proposed motion referenced below.
Otherwise, please be prepared to discuss at the parties’ upcoming meet and confer as to the Wayfarer Parties’
production deficiencies raised in our separate correspondence earlier today. We have offered Friday morning and we
are also available tomorrow if more suitable to your schedules.
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As discussed yesterday, please also confirm whether Liner does or intends to represent Matthew Mitchell in connection
with third-party discovery. Amir indicated that he would check.

Best,
KB



Kristin Bender
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From: Summer Benson <sbenson@lftcllp.com>
Sent: Tuesday, June 10, 2025 8:53 PM
To: Roeser, Stephanie <SRoeser@manatt.com>; Cortni Davis <cdavis@lftcllp.com>; Vaneta Birtha
<vbirtha@lftcllp.com>; Jose Perez <jperez@lftcllp.com>; Ellyn Garofalo <egarofalo@lftcllp.com>; Kim Zeldin
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Puello <cpuello@lftcllp.com>; Theresa Troupson <ttroupson@lftcllp.com>
Cc: Nathan, Aaron E. <ANathan@willkie.com>; Bender, Kristin <KBender@willkie.com>; Bruno, Matthew
<MBruno@manatt.com>; Gottlieb, Michael <MGottlieb@willkie.com>; Governski, Meryl Conant
<MGovernski@willkie.com>; Hudson, Esra <EHudson@manatt.com>; Connolly, Michaela <MConnolly@willkie.com>;
Climaco, Katelyn <KClimaco@manatt.com>
Subject: RE: Lively Motion to Compel re Wayfarer Third Parties


                                                *** EXTERNAL EMAIL ***

Counsel,

We are in receipt of your draft stipulation. As an initial matter, it fails to comply with the applicable procedures in the
Central District of California, specifically Local Rule 37. On this basis alone, your proposed motion is procedurally
improper.

Notwithstanding your failure to adhere to the Local Rules, and consistent with our obligations, we have complied, and
continue to comply, with the subpoenas at issue. Wayfarer has been diligently producing documents from its
repositories, including email data for the subpoenaed custodians, with substantial completion anticipated by July 1,
2025. Production from individual devices will begin shortly and be completed by July 1, 2025. As we have repeatedly
explained, we are proceeding as efficiently as possible given the volume and scope of discovery sought from these third
parties.

While we believe that motion practice would serve only to burden the parties and the court unnecessarily, we remain
willing to engage under Local Rule 37 should you elect to proceed properly.

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Summer E. Benson, Esq.
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Case 2:25-mc-00055                                 Document 1-16                            Filed 06/20/25                         Page 6 of 6 Page ID #:780



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Sent: Friday, June 6, 2025 6:13 PM
To: Cortni Davis <cdavis@lftcllp.com>; Vaneta Birtha <vbirtha@lftcllp.com>; Jose Perez <jperez@lftcllp.com>; Summer
Benson <sbenson@lftcllp.com>; Ellyn Garofalo <egarofalo@lftcllp.com>; Kim Zeldin <kzeldin@lftcllp.com>; Amir
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<MGovernski@willkie.com>; Hudson, Esra <EHudson@manatt.com>; Connolly, Michaela <mconnolly@willkie.com>;
Climaco, Katelyn <KClimaco@manatt.com>
Subject: Lively Motion to Compel re Wayfarer Third Parties


Counsel,

Please see attached pursuant to Central District of California Local Rules 37-1 and 45 and Federal Rules of Civil
Procedure 37 and 45.

Thank you,
Stephanie

Stephanie Roeser
Partner


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